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  Attorneys for WAYMO LLC
                              UNITED STATES DISTRICT COURT

             NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

 WAYMO LLC,                                     CASE NO. 3:17-cv-00939-WHA

                Plaintiff,                      DECLARATION OF PATRICK
                                                   SCHMIDT IN SUPPORT OF PLAINTIFF
       vs.                                      WAYMO LLC’S ADMINISTRATIVE
                                                   MOTION TO FILE UNDER SEAL
 UBER TECHNOLOGIES, INC.;                       PORTIONS OF ITS LETTER BRIEF TO
    OTTOMOTTO LLC; OTTO TRUCKING                   COMPEL PRODUCTION OF
 LLC,                                           MATERIALS WITHHELD BY
                                                   ANTHONY LEVANDOWSKI UNDER
                Defendants.                     THE FIFTH AMENDMENT AND
                                                   EXHIBITS 3, 4, AND 5 THERETO
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                                     SCHMIDT DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
      Case 3:17-cv-00939-WHA Document 595-1 Filed 06/12/17 Page 2 of 3




 1 I, Patrick Schmidt, declare as follows:

 2          1.      I am an attorney licensed to practice in the State of California and am admitted to

 3 practice before this Court. I am an associate at the law firm Quinn Emanuel Urquhart & Sullivan,

 4 LLP, counsel for the Plaintiff Waymo LLC (“Waymo”). I have personal knowledge of the matters set

 5 forth in this Declaration, and if called as a witness I would testify competently to those matters.

 6          2.      I make this declaration in support of Waymo’s Administrative Motion to File Under

 7 Seal portions of its Letter Brief to Compel Production of Materials Withheld by Anthony

 8 Levandowski Under the Fifth Amendment (the “Letter Brief”) and exhibits 3, 4, and 5 thereto, filed

 9 concurrently herewith (the “Administrative Motion”). The Administrative Motion seeks an order

10 sealing the following materials:

11                   Document              Portions to Be Filed Under     Designating Party
                                                       Seal
12           Letter Brief                  Highlighted Portions       Defendants
13           Exhibits 3, 4, and 5          Entire Document            Defendants

14
            3.      Waymo’s Letter Brief contains references to information that Defendants have
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     designated as confidential and/or highly confidential, and Exhibits 3, 4, and 5 thereto have been
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     designated confidential and/or highly confidential by Defendants.
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            4.      Waymo expects Defendants to file one or more declarations in accordance with the
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     Local Rules.
19
            I declare under penalty of perjury under the laws of the State of California and the United
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     States of America that the foregoing is true and correct, and that this declaration was executed in Los
21
     Angeles, California, on June 12, 2017.
22
                                                   By /s/ Patrick Schmidt
23                                                    Patrick Schmidt
                                                      Attorney for WAYMO LLC
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                                          SCHMIDT DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
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 2                                  SIGNATURE ATTESTATION
 3         Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the

 4 filing of this document has been obtained from Patrick Schmidt

 5
                                                 /s/ Charles K. Verhoeven
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                                                   Charles K. Verhoeven
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                                       SCHMIDT DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
